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               EXHIBIT FF
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Renee Baggett

From:                              Bryan Aylstock
Sent:                              Monday, May 13, 2013 8:24 AM
To:                                Ben Watson
Cc:                                'Tom P. Cartmell'; Renee Baggett; Donna Jacobs
Subject:                           RE: Tvt physician education videos and professional Ed decks


Thanks Ben, looking forward to nailing this one down.

From: Ben Watson [mailto:Ben.Watson@butlersnow.com]
Sent: Friday, May 10, 2013 5:30 PM
To: Bryan Aylstock
Cc: 'Tom P. Cartmell'; Renee Baggett; Donna Jacobs
Subject: RE: Tvt physician education videos and professional Ed decks

Bryan,

I am working on finalizing the details, but I believe that everything we have has been produced. I will get you a formal
response on Monday or Tuesday that tells you where to find them.

Thanks.

From: Bryan Aylstock [mailto:BAylstock@awkolaw.com]
Sent: Thursday, May 09, 2013 10:42 AM
To: Ben Watson
Cc: 'Tom P. Cartmell'; Renee Baggett; Donna Jacobs
Subject: RE: Tvt physician education videos and professional Ed decks

Ben,

Any update here on the registry data? I didn’t see any response but may have missed it. If we can’t get a response this
week that all have been produced we will be filing a motion with the Court. We simply cannot wait any longer with the
depositions upcoming.

Thanks,
bryan

From: Bryan Aylstock
Sent: Monday, April 22, 2013 11:08 AM
To: 'Ben Watson'
Cc: Tom P. Cartmell; Renee Baggett
Subject: RE: Tvt physician education videos and professional Ed decks

Thanks Ben,

While you’re checking can you also confirm that you have produced all the of the materials involving any and all TVT
registries, both foreign and domestic, and if so in what productions they are contained?

Best,
bryan
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From: Ben Watson [mailto:Ben.Watson@butlersnow.com]
Sent: Monday, April 22, 2013 7:54 AM
To: Bryan Aylstock
Cc: Tom P. Cartmell; Renee Baggett
Subject: RE: Tvt physician education videos and professional Ed decks

Bryan,

I’ve had someone gathering the information on this and should be able to let you know by the end of the day.

Thanks.

From: Bryan Aylstock [mailto:BAylstock@awkolaw.com]
Sent: Friday, April 19, 2013 11:32 AM
To: Ben Watson
Cc: Tom P. Cartmell; Renee Baggett
Subject: RE: Tvt physician education videos and professional Ed decks

Ben,

Know we’re all busy but with depos coming up we need this soon. Can you please follow up?

Thanks!
bryan

From: Ben Watson [mailto:Ben.Watson@butlersnow.com]
Sent: Tuesday, April 16, 2013 10:28 AM
To: Bryan Aylstock
Cc: Tom P. Cartmell; Renee Baggett
Subject: RE: Tvt physician education videos and professional Ed decks

Let me get the specifics and I’ll get back to you as quickly as I can.

From: Bryan Aylstock [mailto:BAylstock@awkolaw.com]
Sent: Tuesday, April 16, 2013 7:45 AM
To: Ben Watson
Cc: Tom P. Cartmell; Renee Baggett
Subject: Tvt physician education videos and professional Ed decks

Ben
Can you please confirm all these have been produced for all tvt products as well as prosima and let us know
which production they are in?
Thanks
Bryan

Sent from my Verizon Wireless 4G LTE DROID

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